     Case: 1:18-cv-05766 Document #: 7 Filed: 09/21/18 Page 1 of 2 PageID #:134




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

Jeffrey B. Cohen (58021-037),                 )
                                              )
                        Plaintiff,            )
                                              )              Case No. 18 C 5766
               v.                             )
                                              )              Judge Thomas M. Durkin
Daniel Freed, et al.,                         )
                                              )
                        Defendants.           )

                                             ORDER

        Plaintiff’s application for leave to proceed in forma pauperis [6] is denied. If Plaintiff
wants to proceed with this lawsuit, he must pay the $400 filing fee. Plaintiff’s failure to pay the
filing fee by October 12, 2018 will result in the matter remaining dismissed. The Clerk is
directed to send Plaintiff a copy of this order.

                                         STATEMENT

       Plaintiff Jeffrey B Cohen, a federal prisoner brings this pro se action. Currently before
the Court is Plaintiff’s application to proceed in forma pauperis.

        Plaintiff’s application for leave to proceed in forma pauperis is denied for lack of a
sufficient showing of indigence. Plaintiff’s trust fund statement indicates that he had average
monthly deposits of $364 over the last six months and a total amount of over $2,700 in the last
eleven months. The trust fund statement also shows that Plaintiff regularly receives such income
and spends the money quickly after its receipt.

        Because Plaintiff is a prisoner for whom he is provided the necessities of life, his
consistent ample assets demonstrate that he does not qualify as indigent. See Lumbert v. Illinois
Department of Corrections, 827 F.2d 257, 260 (7th Cir. 1987); Zaun v. Dobbin, 628 F.2d 990,
993 (7th Cir. 1980). A prisoner, like any other person contemplating a civil suit, must consider
the cost of the litigation versus the probability of success. See also Newlin v. Helman, 123 F.3d
429, 435 (7th Cir.1997) (noting that a prisoner who “squander[s]” all his assets has the “means”
to pay and is not exonerated by section 1915(b)(4)), overruled in part on other grounds by Lee v.
Clinton, 209 F.3d 1025, 1026–27 (7th Cir.2000); see also Sanders v. Melvin, 873 F.3d 957, 960
(7th Cir. 2017) (prisoner “can save up . . . and pay the filing fee”).

        Plaintiff is financially able to pay the $400.00 filing fee. Plaintiff therefore must prepay
the statutory filing fee if he wishes to proceed with this action. Plaintiff may pay by check or
money order made payable to Clerk of Court and mailed to the Clerk of Court, United States
     Case: 1:18-cv-05766 Document #: 7 Filed: 09/21/18 Page 2 of 2 PageID #:135




District Court, 219 South Dearborn Street, Chicago, Illinois 60604, attn: Cashier’s Desk, 20th
Floor.



Date:         9/21/2018                                  /s/ Thomas M. Durkin




                                              2
